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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

 AMERICAN AIRLINES, INC.,                        §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §      Civil Action No. 4:23-cv-00860-P
                                                 §
 SKIPLAGGED, INC.,                               §
                                                 §
         Defendant.                              §


                               FIRST AMENDED COMPLAINT


        Plaintiff American Airlines, Inc. (“American”) brings this First Amended Complaint

against Defendant Skiplagged, Inc. (“Skiplagged”), and respectfully alleges as follows:

                                I.      NATURE OF THE CASE

        1.      Only an authorized agent of American can act for American and issue tickets to

passengers on American’s behalf.

        2.      Skiplagged is not, and never has been, an authorized agent of American. It is a

middle-man improperly inserting itself between American and flight consumers. It employs

unauthorized and deceptive ticketing practices, entices consumers to participate in those deceptive

practices by promising savings, and then doesn’t deliver. Instead, Skiplagged often charges

consumers more than if they had booked a ticket directly with American or through an authorized

agent of American.

        3.      Skiplagged has never had an agency agreement with American and has never had

any authority, whatsoever, to sell tickets for American flights. Indeed, Skiplagged developed

methods to illegally obtain access to tickets and offer them to consumers – tickets which are at risk



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for immediate invalidation – because only an agent of American has the legal authority to form a

valid contract between a consumer and American.

        4.      Skiplagged deceives the public into believing that, even though it has no authority

to form and issue a contract on American’s behalf, somehow it can still issue a completely valid

ticket. It cannot. Every “ticket” issued by Skiplagged is at risk of being invalidated.

        5.      Skiplagged also deceives the public into believing that the American fares it

displays will give the consumer access to some kind of secret “loophole.” But many of the fares

displayed on Skiplagged’s website are higher than what the consumer would pay if they simply

booked a ticket on American’s website or through an actual authorized agent of American. It is

the classic bait and switch: draw consumers in with the promise of secret fares, and instead sell the

consumer a ticket at a higher price.

        6.      Skiplagged knows any ticket it issues is at risk for invalidation, and that American

could simply cancel the ticket if detected, so Skiplagged hides its activity. It also tells its customers

to hide it from American. Skiplagged does this by purchasing tickets on the AA.com website while

pretending to be a consumer, in violation of the AA.com terms of use; by inducing agents of

American to breach their agency agreements with American; and by misusing American’s

trademarks to falsely imply that it is American’s authorized agent. On information and belief,

Skiplagged employs other methods of hiding its activity that American is currently investigating.

        7.      Skiplagged’s actions constitute tortious interference, breach of the AA.com terms

of use, trademark infringement, copyright infringement and other violations as set forth herein.

                                       II.     THE PARTIES

        8.      American Airlines, Inc. is a Delaware corporation with its worldwide headquarters

located in this District, at 1 Skyview Drive, Fort Worth, Texas 76155.



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       9.      Defendant Skiplagged, Inc. is a Delaware corporation organized under Delaware

law. Its principal place of business is located at 41 E. 11th St., 9th Floor, New York, New York,

10003. Despite doing business in Texas, Skiplagged has not designated a registered agent for

service of process in Texas. Skiplagged may be served with process through either (a) its Delaware

registered agent, The Corporation Trust Company, Corporation Trust Center, 1209 Orange St.,

Wilmington, Delaware 19801; or (b) its New York registered agent, Aktarer Zaman, 525 W. 28th

St., Apt. 1158, New York, New York 10001. Alternatively, Summons and Complaint may be

served upon the Texas Secretary of State at 1019 Brazos Street, Austin, Texas 78701, as its agent

for service pursuant to Tex. Civ. Prac. & Rem. Code § 17.044. The Texas Secretary of State may

serve Skiplagged, Inc. at 41 E. 11th St., 9th Floor, New York, New York, 10003, or via the

registered agent for service of process it has designated for Delaware and/or New York.

                            III.   JURISDICTION AND VENUE

       10.     The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1121(a), and 28

U.S.C. §§ 1331 and 1338, given American’s trademark and copyright claims. The Court has

supplemental and pendent jurisdiction over the related state law claims under 28 U.S.C. § 1367.

       11.     This Court has personal jurisdiction over Skiplagged. By accessing and booking

tickets through AA.com, Skiplagged agreed to AA.com’s terms of use (“Use Agreement”), which

includes an acknowledgement that the terms of the site constitute an agreement made and entered

into in Tarrant County, Texas, and which provides that “Texas law governs this Agreement’s

interpretation and/or any dispute arising from your access to, dealings with, or use of the Site.”

Skiplagged’s use of the American website to access and obtain American’s flight and fare data,

and also to communicate passenger information to American on any ticket sold and booked by

Skiplagged on AA.com, is subject to AA.com’s Use Agreement.



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       12.     Skiplagged systematically conducts business in Texas and in this District.

Skiplagged has purposefully availed itself of this forum by booking American tickets for Texas-

based customers, soliciting business from Texas residents, selling flights to Texas residents, and

offering and selling flights to, from, and within Texas.

       13.     The Court also has personal jurisdiction over Skiplagged because it has committed

torts in this District, breached a contract entered into in this District which is governed by the laws

of Texas, and violated Texas statutory law in this District. Based on the foregoing, Skiplagged

could reasonably anticipate being brought into court in Texas.

       14.     Venue is proper in this District under 28 U.S.C § 1391 because the claims asserted

in this action also arose in this District, and a substantial part of the activities, conduct, and

damages giving rise to American’s claims occurred in this District.

                               IV.     FACTUAL ALLEGATIONS

A.     American’s Operations and Content.

       15.     With its global name recognition and goodwill, American has become a leading

household brand for over 90 years. American has used and continues to use the trade name and

trademark “American Airlines,” and iconic trademarks and service marks, for decades. American’s

brands, trade names, and other intellectual property are the result of significant investment and

worth billions of dollars.

       16.     American launched its website, AA.com, in 1995. AA.com offers end-user

customers flights, ticket data, reservation details, booking options, and other travel services. The

site provides fare, schedule and inventory data to actual and potential end-user customers in an

interactive format. American has long controlled access to its fare, schedule and inventory content

and to AA.com and, in doing so, prohibits travel agencies or other businesses from the

unauthorized sale of American flights through that portal. Among other things, the terms of use

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for AA.com prohibit the use of AA.com for any commercial purpose without American’s express

authorization.

        17.      American has invested significant resources to develop, maintain, and distribute to

authorized users its fare, schedule and inventory content. The combined content is generated

dynamically. American carefully protects its valuable fare, schedule and inventory content and

takes commercially reasonable measures to limit access to authorized agents. American selectively

provides this information only to authorized agents and certain other authorized recipients under

strict terms and conditions, including prohibitions against sharing the data with unauthorized

entities. The development and maintenance of the content relating to American’s products and

services has required extensive investment of time, money, and specialized resources.

        18.      Only American can fulfill the ticket for the passenger; the agent bears no inventory

risks. As a result, only authorized agents of American are legally permitted to use such content

and information, and even such authorized agents are limited in the purposes and manner of their

permitted use. Unauthorized access and use of American’s data and content causes disruption and

harm to American’s systems, business, and customers, and is a major safety and security threat.

B.      Contractual Terms and Conditions Relating to AA.com.

        19.      To protect its valuable content, American requires visitors to AA.com to agree to

terms governing use of the site, the AA.com Use Agreement. The Use Agreement confirms many

things, but mainly that the information displayed on AA.com is owned by American.

        20.      The Use Agreement sets forth the terms and conditions under which users may

access and use AA.com.1 Access or use of AA.com constitutes acceptance of the Use Agreement



1
  The AA.com Use Agreement states: “In return for gaining access to the Site and using it, you agree to be bound by
the following Agreement without limitation or qualification, so please carefully review this Agreement before
proceeding. If you do not intend to be legally bound by these terms and conditions, do not access and use the Site.”


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which is a valid and enforceable contract between American and those who access and use

AA.com. When Skiplagged accesses and uses AA.com to book flights or extract American’s

content, Skiplagged is bound by the terms of the Use Agreement.

       21.      The Use Agreement provides that it is “made and entered into in Tarrant County,

Texas,” and users agree “that Texas law governs this Agreement’s interpretation and/or any

dispute arising from your access to, dealings with, or use of the Site.”

       22.      The Use Agreement provides that all information, data, and content displayed on

AA.com are owned by and “are the exclusive property of American,” and that users may not use

any such information for their own commercial gain. Among other things, the Use Agreement

specifically provides that:

             a. All content appearing on the website is the exclusive property of American
                and users may not use the content of the site for public or commercial
                purposes;

             b. American provides the site solely to permit the user to determine the
                availability of goods and services offered on the website and to make
                legitimate reservations, and for no commercial or other purposes;

             c. AA.com users of the website agree that they will not misuse the website to:

                1. engage in any commercial purpose including but not limited to
                   advertising or offering to sell any goods or services;

                2. post, send, or disclose protected proprietary American data;

                3. copy, display, distribute, publish, recreate, reproduce, sell, transfer, or
                   transmit any information, products, services, or software obtained by,
                   from, or through the website;

                4. monitor or copy any website content by using any manual or automatic
                   device, without first obtaining American Airlines’ prior written consent;

                5. act as an agent for any person who is not a member of your immediate
                   household; or your direct supervisor at your place of employment; and

                6. misrepresent or omit the origin or source of any file uploaded or
                   downloaded to the website.


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              d. American also specifically denies the user permission to hyperlink or
                 provide references to the Site or to use any trademarked or copyrighted
                 material to provide such hyperlinks or references, unless authorized by
                 American Airlines.

        23.      The Use Agreement also incorporates American’s Conditions of Carriage, also

linked on AA.com. The Conditions of Carriage is a contract that governs all transportation of

passengers and bags provided by American. The Conditions of Carriage (a) provide that a ticket

is valid only when travel is to/from the cities on your ticket and in your trip record; and (b) prohibit

reservations that exploit or circumvent fare and ticket rules, including purchasing a ticket without

intending to fly all flights to gain lower fares (i.e., hidden city ticketing).

        24.      By accessing and/or using the content and information made available on AA.com,

Skiplagged accepted and agreed to the Use Agreement and Conditions of Carriage.

C.      American’s Valuable Trademarks and Copyrights.

        25.      For decades, American has used the trade name and trademark “American Airlines”

and many trademarks, service marks, and copyrights, including on AA.com. American also has

used registered designs such as its “Flight Symbol” to promote its products and services throughout

the world:




        26.      American uses the “American Airlines” mark and               (“Flight Symbol”) design

(together, “American Marks”), alone and in combination with other words and designs, in

connection with loyalty programs, discount programs, incentive award programs, transportation

services, and travel-related goods and services, in interstate commerce. Indeed, American devotes



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significant time, money, and effort to advertising, promoting, and protecting its products and

services using its trademarks throughout the world.

       27.      To protect its investment in its intellectual property, American registers the

American Marks in the U.S. Patent and Trademark Office (“USPTO”) on the Principal Register.

American also registers the American Marks in many other countries.

       28.      The registered American Marks include, but are not limited to, the following:

    Mark/Name          Reg. No.      Reg. Date                               Services

  AMERICAN            4939082     April 19, 2016      (Int’l Class: 39)
  AIRLINES                                            air transport of passengers, cargo, and freight; providing
                                                      travel agency services, namely, providing travel
                                                      reservation services for others, namely, coordinating
                                                      travel arrangements for individuals and for groups,
                                                      providing information in the field of travel by means of
                                                      a global computer network; etc.
  AMERICAN            5279167     Sep. 5, 2017        (Int’l Class: 09)
  AIRLINES                                            computer application software for mobile devices and
                                                      handheld computers, namely, software for providing
                                                      information in the fields of travel, transportation and
                                                      loyalty award programs; computer application software
                                                      for mobile devices; computer application software for
                                                      mobile devices and handheld computers, namely,
                                                      software for ticketing passengers, checking
                                                      reservations, and checking flight status
  Design Only         4449061     Dec.10, 2013        (Int’l Class: 39)
                                                      air transportation of passengers, cargo, and freight;
                                                      providing travel agency services, namely, providing
                                                      transportation reservation services for others, air
                                                      transportation reservation services for others, etc. by
                                                      means of a global computer network; providing
                                                      information in the field of travel by means of a global
                                                      computer network
  Design Only         5559145     Sep.11, 2018        (Int’l Class: 39)
                                                      air transport of passengers, cargo, and freight; providing
                                                      travel agency services, namely, providing travel
                                                      reservation services for others, air transportation
                                                      reservation services for others, ground support services
                                                      in the field of air transportation, namely, marking,
                                                      sorting, loading, unloading, transfer, and transit of cargo
                                                      and passengers’ luggage; providing information
                                                      concerning cargo and passengers’ luggage in transit and
                                                      delivery; air travel passenger ticketing and check-in
                                                      services; booking and providing ancillary travel
                                                      services, namely, making reservations in the nature of
                                                      seat selection, baggage check-in; airport ramp services,
                                                      namely,transfer of checked baggage to aircraft; airport
                                                      ramp services, namely, transfer of carry-on baggage to


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                                                       aircraft; airline services, etc.
  AMERICAN            5288639      Sep. 19, 2017       (Int’l Class: 39)
  and Design                                           air transport of passengers, cargo, and freight;
                                                       providing travel agency services, namely, providing
                                                       travel reservation services for others, namely,
  American                                             coordinating travel arrangements for individuals and
                                                       for groups, air transportation reservation services for
                                                       others, and vacation reservation services by means of a
                                                       global computer network, namely, coordinating travel
                                                       arrangements for individuals and for groups; providing
                                                       information in the field of travel by means of a global
                                                       computer network

       29.     The American Marks give American the exclusive right to use its registered marks

in connection with air transportation and other travel services, as well as the right to exclude third

parties from engaging in the unauthorized use of the American Marks.

       30.     American also has protected its investment in its brand by registering designs with

the U.S. Copyright Office. It owns U.S. Copyright Registration No. VA00002130520 for its Flight

Symbol design (“American Copyright”).

       31.     In addition to its registered rights, American has strong common-law rights in the

American Marks and American Copyright by virtue of extensive use and promotion in commerce.

       32.     The American Marks and American Copyright serve as unique and famous source

identifiers for American and various travel services. American has invested millions of dollars in

worldwide advertising and marketing to build the fame, reputation, and goodwill of the American

Marks and American Copyright. It advertises through a variety of media, including television, the

internet, radio, newspapers, magazines, and direct mail, across the country and the world.

       33.     The American Marks and American Copyright are distinctive designations of the

source of origin of American’s services. They are uniquely associated with it and its high-quality

goods and services and are assets of incalculable value as symbols of American, its quality goods

and services, and its goodwill.




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         34.   As a result of American’s extensive and continuous advertising, promotional, and

use of the American Marks and American Copyright, they are famous, distinctive, and widely

recognized by the general consuming public of the United States as a designation of the source of

the involved goods and services.

D.       Skiplagged’s Unauthorized and Abusive Practices, Breaches of Contract, and Other
         Wrongful and Misleading Conduct.

         35.   Skiplagged’s conduct is deceptive and abusive. To be clear, Skiplagged (a) is not –

and has never been - an agent of American; (b) breaches the AA.com Use Agreement and

Conditions of Carriage by marketing and selling tickets for American flights; (c) coaches

American passengers to assist in their breaches of the Conditions of Carriage agreement with

American; (d) violates federal statutory and DOT regulations; and (e) infringes the American

Marks.

         a. Skiplagged is not an Agent of American.

         36.   Skiplagged is not, and has never been, an agent for American. Skiplagged has never

had authorized access to American’s valuable real-time fare, schedule and inventory content, nor

has it ever had the right to sell American tickets or related flight services as American’s agent.

         37.   Yet Skiplagged holds itself out as an agent of American’s by misappropriating,

using, and displaying American data and using American Marks in order to sell tickets for

American flights. To do this, Skiplagged uses electronic mechanisms to access and interact with

AA.com, allowing it to obtain American’s fare, schedule and inventory content and then modifies

and republishes the data on Skiplagged.com.

         38.   The proprietary American content misappropriated by Skiplagged is not static but

instead changes and updates in real time. Skiplagged uses this dynamic content on its website so




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that its customers can run up to date searches for American flights, as if it Skiplagged was

authorized to do so by American.

         39.       Skiplagged also pretends American is its “partner” and provides links from

Skiplagged.com to American’s website to deceive the public that it is an American agent.

         40.       For example, when a customer searches for a ticket on Skiplagged’s website, he or

she is routinely given an “Alternate Booking” option which links to American. This alternate

booking page expressly represents to the consumer that “These direct links [e.g., the “Book Now”

link to AA.com discussed below] are provided by our partners.” (emphasis added).

                                                                              Booking Links




 These direct links are provided by our partners, so the price may be different than the
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    absolute lowest price. If you don't s~e't~e price you want, try calling the airline.
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         41.       In the above screenshot, Skiplagged’s website deliberately gives its customers a

link to AA.com and instructs them to “Open a New Tab and Go to This Link.” When a customer

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clicks the “Book Now” link in that section, they can get many random outcomes, such as an error

page on AA.com, the AA.com homepage, or a booking page on AA.com for the flights/itinerary

that Skiplagged had generated. This direct linking creates a false association or affiliation between

Skiplagged and American, and further misleads the public into believing Skiplagged is an

authorized agent of American.

          42.   When a customer books a ticket on Skiplagged.com, Skiplagged then books the

ticket through the AA.com website, and provides the customer’s name, personal information and

payment information for the customer to American on the customer’s behalf. After the ticket is

booked, Skiplagged sends an email to the customer with the American itinerary and American’s

assigned record locator for the reservation, as if it is an authorized agent.

          43.   By its actions, Skiplagged has unlawfully held itself out as and acted as American’s

agent without authorization to do so and has made contracts of carriage between American and

passengers that only an authorized American agent has authority to make.

          b. Skiplagged’s Breaches of the AA.com Use Agreement and Conditions of Carriage.

          44.   The AA.com website has contractual terms of use that are necessarily accepted and

agreed to by anyone who accesses and uses American’s website (“Use Agreement”). Skiplagged

is well aware that they are bound by these terms because in order to complete each of its bookings

through AA.com, Skiplagged has to affirmatively check a box confirming its acceptance of

American’s Conditions of Carriage.

          45.   AA.com’s Use Agreement explicitly states that AA.com is solely for personal, non-

commercial use. Users of AA.com agree that they will not misuse the website to, among other

things:

                1. engage in any commercial purpose including but not limited to
                   advertising or offering to sell any goods or services;


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               2. post, send, or disclose protected proprietary American data;

               3. copy, display, distribute, publish, recreate, reproduce, sell, transfer, or
                  transmit any information, products, services, or software obtained by,
                  from, or through the website;

               4. monitor or copy any website content by using any manual or automatic
                  device, without first obtaining American Airlines’ prior written consent;

               5. act as an agent for any person who is not a member of your immediate
                  household; or your direct supervisor at your place of employment; and

               6. misrepresent or omit the origin or source of any file uploaded or
                  downloaded to the website.

Skiplagged violates all of these terms, and more.

                i. Skiplagged’s Business of Selling and Featuring American’s Content
                   Breaches the Use Agreement (Nos. 1-5 Above).

       46.     Skiplagged clearly uses AA.com to engage in the commercial purpose of

advertising and offering to sell goods and services, i.e., selling American tickets to people

accessing the Skiplagged website. Undeniably, this is the heart of the Skiplagged’s business and a

clear breach of the Use Agreement (see #1 above).

       47.     In order to sell these American tickets, Skiplagged posts, sends and discloses

American content on its website and in emails to its customers. Skiplagged also emails the

American record locator assigned with the ticket to its customers and even references the record

locator in the credit card billing line item when it bills its customers for Skiplagged’s fees. These

comprise additional breaches of the Use Agreement (see #2 and #3 above).

       48.     For customers to shop and book fares through Skiplagged, they must review the

real time American fare, schedule and inventory content as displayed on Skiplagged.com.

Skiplagged, without any authorization whatsoever, employs an automatic electronic means to

monitor, copy the dynamic and ever-changing AA.com website content in order to have real time




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fare, schedule and inventory information available to customers – thus breaching the Use

Agreement (see #4 above).

       49.     Skiplagged sells American flights to customers by having them book and pay for

their tickets on Skiplagged.com, and then taking the customer’s personal and credit card

information and completing the booking on AA.com. In doing so, Skiplagged masquerades as an

American agent for its customers, which is a breach of the Use Agreement (see #5 above).

               ii. Skiplagged’s Claims of Saving its Customers Money is Fraudulent – and a
                   Breach of the Use Agreement (No. 6 above).

       50.     Skiplagged’s business is based on the appearance of saving customers money by

advertising that it provides cheaper fares than customers would get by booking directly with

AA.com. In doing so, Skiplagged misrepresents fare, schedule and inventory information from

AA.com as higher than those offered by Skiplagged, yet consistently ends up charging the

customer more than they would pay on AA.com. These instances are misrepresentations or

omissions of the origin or source of the American content obtained and offered by Skiplagged, and

a breach of the Use Agreement (see # 6 above). Just a few of these many bait and switch examples

are given below for color.

EXAMPLE 1 – SKIPLAGGED OFFERS THE SAME FARE AS AMERICAN BUT ADDS
A SKIPLAGGED FEE, MAKING THE FARE MORE EXPENSIVE THAN AA.COM

       51.     Every time Skiplagged books a ticket for a customer, it charges a Skiplagged fee in

addition to the base fare. Usually, this fee is $10 per one way ticket booked on Skiplagged but at

times this fee is 10% of the base fare of the advertised price.

       52.     In this actual example of a roundtrip flight from Ontario, CA to Reno, NV,

Skiplagged offer users the same exact flight fare that customers can also find on AA.com. But

when the customer actually goes to book the ticket on Skiplagged, the ticket ends up costing the

customer more than the AA.com fare due to Skiplagged’s added fee.

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        53.      In this case, the American flight is offered on Skiplagged.com for $441:

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        54.      The user could find the same flight on AA.com as listed for $455:

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        55.      If the user only looks at the advertised flight on Skiplagged, she believes she is

saving $14 by booking with Skiplagged.2 But since the advertised Skiplagged fare does not include



2
  Skiplagged achieves this “discounted” rate by mixing cabin fares for the departing and returning flight, a practice
that American does not permit. This method requires the consumer to book two one-way tickets through two separate
transactions.


                                                                                                     15
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Skiplagged’s fees, when she goes to book the flight on Skiplagged, the actual final cost with

Skiplagged’s $20 tacked on fee ends up costing her $459.40—not $441 as Skiplagged advertised.3

The customer would have actually saved more by booking on AA.com in the first place.


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    EXAMPLE 2 – SKIPLAGGED ADVERTISES LOWER FARES THAN AA.COM BUT
    THEN SENDS THE CUSTOMER TO BOOK ON A THIRD PARTY WEBSITE THAT
    CHARGES MORE THAN AA.COM

           56.              Skiplagged also misrepresents American fares by directing users to the websites of

other unauthorized companies to book the same flight displayed on Skiplagged.com which ends

up priced out at a much higher cost. Here, users are paying more than they would on American

and not even actually booking with Skiplagged.

           57.              In this real example, when a user selects flights and attempts to book on

Skiplagged.com, Skiplagged instead provides the user a “Book Now” link that automatically opens




3
    $281.20 for the departing flight and $178.20 for the return flight which together comprise the total.


                                                                                                16
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a corresponding booking page on “Kiwi.com” for the selected flights/itinerary.4 Here again,

Skiplagged misrepresents the total cost to the consumer.

        58.         Here, a user wants to buy a one-way flight from Washington, D.C. to Bellingham,

WA. Skiplagged automatically populates a list of options along with their respective total cost.

As shown below, Skiplagged lists the ticket price as $751.

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        59.         However, a real time search on American shows that AA.com offers the same flight

at the exact same price.




4
 In February 2022, American publicly announced to the airline and travel agency industry that Kiwi did not have
authority from American to sell American tickets. Yet Skiplagged continues to knowingly facilitate, participate in,
and, on information and belief, financially benefit from Kiwi’s unauthorized and unlawful activities.


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                      DEPART

                      Wash ington , DC to Bellingham , WA
                      Thursday. August 17. 2023
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       60.     When the user in this example proceeds to book the flight on Skiplagged.com, she

believes she will book it for $751 and is given a link to do so.

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       61.     However, when she clicks “Book Now,” she is redirected to Kiwi.com to book this

flight for $826 – NOT the $751 represented by Skiplagged. This is due to a 10% service fee

upcharge of $75 using Kiwi.com to book the same flight American offers for $751:


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        Washington, D.C. - Bellingham
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          Trip summary


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        62.        Again, Skiplagged failed to save the customer money and ended up costing the

customer significantly more. In doing so, Skiplagged also directly facilitates and causes other

unauthorized travel sites to engage in the unlawful sale of American flights, infringe the American

Marks, misuse American’s valuable, proprietary, and protected information and content, and

breach the AA.com Use Agreement and Conditions of Carriage.

 EXAMPLE 3 – SKIPLAGGED PROMISES SECRET HIDDEN CITY FARES TO ITS
 CONSUMERS THAT END UP COSTING MORE THAN THEY WOULD ON AA.COM

        63.        A big marketing ploy for Skiplagged is that they can book tickets for consumers

through “hidden city” fares advertised as “Skiplagged Rates.” When a customer books a “hidden

city” fare, it is buying a ticket to a destination it does not intend to go to with a stop or layover that


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is the real destination the customer wishes to reach – so that the customer simply gets off at the

stop and does not complete the remaining leg(s) of the ticketed flight.

             64.               In this real example, a customer searches for a flight from Charlotte, NC to

Cincinnati, OH. Skiplagged populates a list of options which include a hidden city fare offering

the user a “Skiplagged Rate $7 off,” resulting in a $169 ticket. The flight departs from Charlotte,

connects in Cincinnati, then continues to Chicago, but the second leg (Cincinnati to Chicago) is

crossed out (the “skipped” portion of the itinerary) since the user will not fly it:

  Please select your flight                                                                   Charlott,• Cincinnati/ Covington                                    X
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             65.               When the user continues to the booking page, Skiplagged actually tacks on a 10%

service fee ($16.87) for a total cost of $185.57. This amount is more expensive than the $169

Skiplagged advertised as a $7 savings.




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       66.                 If the user were to look at AA.com for the direct flight without having to engage in

the prohibited practice of “hidden City” ticketing, she would have paid $176.
         DEPART

         Charlotte, NC to Cincinnati, OH
         Saturday. September 9. 2023

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       67.                 As a result, not only does the customer lose the purported $7 savings gained by

“skiplagging,” she actually owes an additional $9.57 due to Skiplagged’s improperly disclosed

fees. The very basis on which Skiplagged touts its market disruption ends up being a complete lie.

                      iii. Additional Breaches of the Use Agreement.

       68.                 Skiplagged’s direct linking and seamless transition to AA.com, suggesting a false

association between Skiplagged and American, as mentioned in Section D(a) above, is also a


                                                                                                21
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violation of the AA.com Use Agreement, which “specifically denies [Skiplagged] permission to

hyperlink or provide references to the Site” or “to use any trademarked or copyrighted material to

provide such hyperlinks or references, unless you are allowed to do so under a separate written

agreement with American Airlines.” Again, Skiplagged is not authorized by American to do so.

        69.     Through all its actions, Skiplagged violates numerous terms of AA.com’s

Conditions of Carriage (incorporated through the Use Agreement), which includes, among other

things: (1) not using AA.com for commercial, and not personal, purposes; (2) not copying and

republishing American’s content; (3) not actively encouraging and booking hidden city tickets;

and (4) not booking tickets for others outside of the limited exceptions provided for household

members or supervisors.

        c. Skiplagged Boldly Asks its Customers to Agree to Breach American’s Use Agreement
           and Conditions of Carriage.

        70.     Skiplagged and its founder and CEO, Aktarar Zaman, openly acknowledge that

Skiplagged’s ticketing practices violate airlines’ rules and knowingly encourage customers to

breach their contracts of carriage with airlines. Indeed, in 2015, Zaman made a public statement

acknowledging that customers may be “breaking an agreement with the airlines known as a

contract of carriage, where it might say you can't miss flights on purpose.”5

        71.     In what is likely the most egregious communication on its website, Skiplagged tells

the passenger to lie to American about their final destination and participate in Skiplagged’s

deceptive practices in order to book the ticket. Skiplagged even provides personalized, scripted

guidance that is unique to the consumer’s specific booking:




5
        United       Airlines    sued     me        last       year     for       creating      Skiplagged,
https://www.reddit.com/r/IAmA/comments/3ux82r/united_airlines_sued_me_last_year_for_creating/       (posted
November 30, 2015) (emphasis added).


                                                    22
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                                                                           X
                                   Warning
               It   looks   like   you booked        hidden-city    with
               American Airlines in the past so there is a s all
               chance 1ha1 this booking will be fl agged If asked
               by airline staff, say      hat you are head ing to
               Hartford (NOT Chicago) or you will be forced to
               pay 1he norma l price. Shou ld we continue?


                      Cancel                                  OK




         72.        This practice is expressly prohibited by American and many other airlines.6

Because Skiplagged knows this, it even expressly advises customers on what steps to take to avoid

getting caught.

                                                  Important Information about your flight!

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6
  These violations harm not only American but also consumers. With respect to hidden city bookings, when a
passenger skips the final leg of her flight, American might delay the flight unnecessarily to track down the passenger.
If the passenger still does not show, American has to determine whether she has checked luggage through to the final
destination, because the luggage would need to be removed from the plane as a serious security matter, causing a flight
delay. Additionally, when the passenger does not show up for the second leg of her flight, the rest of her itinerary is
automatically cancelled and she and will not have a valid ticket on her way home.


                                                                           23
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           • Don't associate a frequent flyer account - If you do the airline might invalidate any
                miles you've accrued with them.

           • Some airlines may require proof of a return ticket during check-in. If this happens to
                you, just buy a refundable return ticket directly from the airline and cancel it ASAP after
                boarding.

           • Do not overuse hidden-city itineraries. Do not fly hidden-city on the same route with the
                same airline dozens of times within a short time frame.

              • You might upset the airline, so don't do this often.                                          7


        73.        Skiplagged.com is intentionally designed to facilitate and enable travelers to

engage in expressly prohibited activities that violate American’s (and other airlines’) Conditions

of Carriage. By actively promoting prohibited forms of travel, Skiplagged induces passengers to

breach American’s Use Agreement and/or Conditions of Carriage.

        d. Skiplagged’s Consumer Fraud and Deceptive Tactics Violate Federal and
           Department of Transportation Regulations.

        74.        In addition to the harm Skiplagged causes American by its unauthorized activities,

Skiplagged also engages in various misleading and deceptive practices that the U.S. Department

of Transportation (“DOT”) has specifically prohibited and declared to be unfair and deceptive

practices. This includes misleading consumers regarding ticket costs.

        75.        The DOT specifically put in place regulations to declare certain practices unfair or

deceptive to consumers. In particular, the “Full Fare Advertising Rule”—set forth in 49 U.S.C. §

41712 and implemented by 14 CFR 399.84—is a federal consumer protection law to prevent

deceptive airfare advertising practices and requires that a fare quoted be the entire price to be paid

by the customer – not a base fare which later tacks on taxes and fees.




7
  https://support.skiplagged.com/hc/en-us/articles/115003286687-What-is-Skiplagging-or-hidden-city-flying- (last
accessed August 3, 2023).


                                                           24
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         76.      The DOT created these regulations to avoid the confusion and potentially deceptive

practice of presenting a price to attract consumers that does not reflect the total cost to travel, which

could be significantly higher than the initially advertised price. Skiplagged does just that, and

continues to engage in the very price advertising tactic that the DOT has prohibited due to its

deceptive and misleading effects.

         77.      Additionally, 14 CFR 399.80—which establishes “Unfair and deceptive practices

of ticket agents”—provides that the following constitutes “an unfair or deceptive practice or unfair

method of competition . . . by a ticket agent that sells air transportation online”:

         “(f) Misrepresentations8 as to fares and charges for air transportation or services in
         connection therewith”; and

         “(k) Selling or issuing tickets or other documents to passengers to be exchanged or used
         for air transportation knowing or having reason to know or believe that such tickets or other
         documents will not be or cannot be legally honored by air carriers for air transportation.”

         78.      Skiplagged violates 399.80(f) in multiple ways, including by displaying false and

misleading “Total Cost(s)” for tickets on the initial search results page, which end up adding on

undisclosed fees, misrepresenting the fares, and cost the consumer more than advertised.

         79.      And Skiplagged’s sale of hidden city tickets constitutes a deceptive practice under

399.80(k) because, based on the express terms regarding “Ticket validity” and “Prohibited booking

practices” in the Conditions of Carriage that Skiplagged is required to acknowledge when booking

tickets, Skiplagged knows or has reason to know American will not honor such tickets.

         e. Skiplagged Infringes American’s Marks and the American Copyright.

         80.      Skiplagged has and continues to infringe the American Marks and American

Copyright on Skiplagged.com, through its communications, and more by prominently displaying


8
  As used in this section, the term “misrepresentation” includes “any statement or representation made in advertising
. . . to members of the public which is false, fraudulent, deceptive or misleading, or which has the tendency or capacity
to deceive or mislead.” 14 CFR 399.80, n.1.


                                                          25
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the marks “American Airlines” and using American’s “Flight Symbol” design as shown below on

thousands of search page permutations.

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       81.     Skiplagged’s business model involves unauthorized sales practices that harm

American and risks confusing American’s customers into believing that they are dealing with an

authorized agent of American.

       82.     Skiplagged’s improper actions have caused American considerable harm. When

things go wrong with tickets booked through Skiplagged, American gets blamed, even though

those problems are the direct result of unnecessary complications caused by Skiplagged’s improper

practices. Further, Skiplagged’s liberal and unauthorized use of American’s protected intellectual

property suggests falsely that American is working with Skiplagged, authorizing its activities, and

will assist customers when Skiplagged’s practices harm customers. American then loses more

revenue when it tries to help solve its customers’ problems that Skiplagged created. American has

spent decades building trust with its customers and investing countless resources to become one

the premier airline brands in the world. Skiplagged’s unlawful, unauthorized activity threatens and

erodes that investment, potentially irreparably and is a safety and security threat.




                                                                                            26
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       83.     American has expended significant employee time and resources investigating and

trying to address the problems caused by Skiplagged’s and its unauthorized referral partners’

abusive practices.

       84.     Skiplagged takes measures to hide its tracks and elude American’s efforts to stop

its abusive practices. Therefore, at this point, relief from this Court is necessary to stop

Skiplagged’s misconduct. Southwest Airlines previously secured preliminary and permanent

injunctive relief in this District against similar abusive practices by an unauthorized entity selling

airline tickets. See Southwest Airlines Co. v. Kiwi.com, Inc., 3:21-cv-00098-E, 2021 WL 4476799

(N.D. Tex. Sept. 30, 2021) (preliminary injunction); id. at Dkt. No. 126 (permanent injunction).

By this action, American seeks similar permanent injunctive relief, as well as monetary damages,

including disgorgement of Skiplagged’s ill-gotten profits.

                                  V.      CAUSES OF ACTION

                                        COUNT I
                Breach of AA.com Use Agreement and Conditions of Carriage

       85.     American realleges and incorporates by reference all material allegations in the

preceding paragraphs as if fully set forth herein.

       86.     Use of AA.com is governed by and subject to the Use Agreement.

       87.     At all relevant times, legal, privacy and copyright provisions, including the Use

Agreement and American’s Conditions of Carriage, have been accessible by links starting from

AA.com’s main homepage. Skiplagged’s own website, skiplagged.com, likewise has Terms of

Use, accessible by links, which purport to create a contract between Skiplagged and its customers.

       88.     AA.com’s Use Agreement states, “In return for gaining access to the Site and using

it, you agree to be bound by the following Agreement …. If you do not intend to be legally bound




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by these terms and conditions, do not access and use the Site.” Thus, by accessing and using, and

booking tickets through, AA.com, the Use Agreement is a valid agreement binding on Skiplagged.

       89.     As a party to the Use Agreement, American is entitled to sue for a breach of the

agreement. American has met all conditions precedent to and otherwise complied with the contract.

       90.     Among other things, the Use Agreement prohibits use of the site to “engag[e] in

any commercial purpose,” including to “copy, display, distribute, download, . . . publish, . . .reuse,

sell, transmit, . . . or otherwise use the content of the site for public or commercial purposes.”

       91.     The Use Agreement also prohibits use of AA.com to make “any fictitious,

fraudulent, or abusive reservation,” defined in the Conditions of Carriage to include “[p]urchasing

a ticket without intending to fly all flights to gain lower fares (hidden city ticketing).”

       92.     The Use Agreement also prohibits use of the site to “[a]ct as an agent . . . for any

person who is not a member of your immediate household; or your direct supervisor at your place

of employment.”

       93.     The Use Agreement also prohibits use of the site to misrepresent or omit the origin

or source of any file uploaded or downloaded to the website.

       94.     The Use Agreement also prohibits monitoring or copying any website content by

using any manual or automatic device, without first obtaining American Airlines’ prior written

consent.

       95.     The Use Agreement also provides that a user of the site does not have “permission

to hyperlink or provide references to the Site” or “to use any trademarked or copyrighted material

to provide such hyperlinks or references, unless you are allowed to do so under a separate written

agreement with American Airlines.”




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        96.     In violation of Use Agreement and Conditions of Carriage, Skiplagged accesses

AA.com to, among other things, engage in a commercial purpose by selling American tickets to

Skiplagged’s customers, sell hidden city tickets, display and republish American’s protected

content, data, and intellectual property, hyperlink to AA.com, and act on behalf of passengers who

are not members of the immediate household of the individual using the site or for that person’s

direct work supervisor. Skiplagged’s misconduct is ongoing and continues today.

        97.     Skiplagged’s actions have damaged, and will continue to damage, American. The

Use Agreement provides that the user agrees to indemnify American for “any and all claims,

demands, proceedings, suits and actions, including any related liabilities, . . . losses, damages, . . .

expenses (including legal . . . fees []) and costs . . . based on, arising out of or resulting from your

use of the Site, including without limitation any Claims alleging facts that if true would constitute

your breach of this Agreement.” The Conditions of Carriage provide that “You may also be liable

for any loss, damage or expense resulting from your conduct.” As such, American is entitled to

its actual damages suffered as a result of Skiplagged’s breaches, in an amount to be proven at trial.

        98.     Skiplagged’s acts also have caused and, unless and until such acts are enjoined by

this Court, will continue to cause, great and irreparable injury to American for which American

has no adequate remedy at law.

                                        COUNT II
           Tortious Interference with American’s Conditions of Carriage Contract

        99.     American realleges and incorporates by reference all material allegations in the

preceding paragraphs as if fully set forth herein.

        100.    American’s Conditions of Carriage constitute a valid contract between American

and any passengers who purchase a ticket on an American flight. The Conditions of Carriage state




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“All transportation of passengers and bags provided by American Airlines is subject to the terms

of these Conditions of Carriage.”

        101.    American’s Conditions of Carriage, under the provision regarding “Prohibited

booking practices,” provide that “Reservations made to exploit or circumvent fare and ticket rules

are prohibited,” including “[p]urchasing a ticket without intending to fly all flights to gain lower

fares (hidden city ticketing).”

        102.    As alleged above, Skiplagged is specifically designed to identify “hidden city”

ticketing opportunities that directly violate the “Prohibited booking practices” set forth in the

Conditions of Carriage and, thus, necessarily require travelers to breach their Conditions of

Carriage with American.

        103.    By promoting prohibited forms of travel, and asking its customers to lie about it to

American, Skiplagged knowingly encourages and induces American passengers to breach the

Conditions of Carriage.

        104.    In fact, Skiplagged’s founder and CEO has publicly acknowledged that by using

Skiplagged’s services, “you may be breaking an agreement with the airlines known as a contract

of carriage, where it might say you can’t miss flights on purpose.”9

        105.    As a result of Skiplagged’s actions, American has sustained injury, damage, and

financial losses due to the interference which include lost profits and damages related to efforts

used to mitigate the interference.




9
        United       Airlines    sued     me        last       year     for       creating      Skiplagged,
https://www.reddit.com/r/IAmA/comments/3ux82r/united_airlines_sued_me_last_year_for_creating/       (posted
November 30, 2015) (emphasis added).


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                                         COUNT III
                        Trademark Infringement under 15 U.S.C. § 1114

       106.     American realleges and incorporates by reference all material allegations in the

preceding paragraphs as if fully set forth herein.

       107.     The American Marks are inherently distinctive and continue to acquire

distinctiveness and goodwill in the marketplace through American’s use of those marks in

commerce. As a result of its widespread and continuous use, American Marks have become

associated in the minds of travelers and travel loyalty program users with American. The reputation

and goodwill that it has built up in American Marks is of great value to American.

       108.     The types of services for which Skiplagged uses American Marks are identical or

substantially similar to services offered by American.

       109.     Skiplagged’s conduct—including its prominent use of American Marks in

conjunction with promoting and selling American flights—has caused and is likely to cause

confusion, to cause mistake, or to deceive as to the affiliation, connection, or association of

Skiplagged with American, or as to the origin, sponsorship, or approval of Skiplagged’s goods and

services by American.

       110.     Skiplagged’s acts constitute infringement of one or more American Marks in

violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       111.     American has sustained injury, damage, and loss as a result of Skiplagged’s

infringement.

       112.     American is entitled to monetary damages for Skiplagged’s infringement.

       113.     Skiplagged has acted with knowledge of American’s ownership of the American

Marks and with a deliberate intent or willful blindness to unfairly benefit from the goodwill




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symbolized by the marks. Skiplagged willfully infringed one or more of the American Marks, and

the intentional nature of its actions makes this case exceptional under 15 U.S.C. § 1117(a).

       114.    American also has suffered and will continue to suffer irreparable harm as a result

of Skiplagged’s infringement of the American Marks. Unless enjoined by this Court pursuant to

15 U.S.C. § 1116, Skiplagged will continue to infringe the American Marks. American has no

adequate remedy at law for Skiplagged’s infringement.

                                        COUNT IV
       False Designation of Origin and Unfair Competition under 15 U.S.C. § 1125(a)

       115.    American realleges and incorporates by reference all material allegations in the

preceding paragraphs as if fully set forth herein.

       116.    American has federal trademark rights in the American Marks.

       117.    Skiplagged is displaying and using the American Marks in interstate commerce

purporting to act as an online travel agency for American but with no authorization to sell and re-

sell American flights on Skiplagged’s website.

       118.    Skiplagged’s conduct did and is likely to cause confusion, mistake, or deception as

to its affiliation, connection, or association with American, or as to the origin, sponsorship, or

approval of Skiplagged’s goods and services by American.

       119.    Skiplagged’s acts constitute false designation of origin, which is likely to cause,

and have caused, confusion in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).

       120.    The intentional nature of Skiplagged’s actions entitles American to recover profits,

damages, and attorney fees under 15 U.S.C. § 1117(a).

       121.    Skiplagged’s actions have caused and will continue to cause irreparable injury to

American for which it has no adequate remedy at law, as well as monetary harm. Skiplagged’s

acts damage American by undermining consumers’ association of the American Marks with


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American. Unless enjoined by the Court pursuant to 15 U.S.C. § 1116, Skiplagged will continue

to misrepresent and mislead the public that its services are in some manner connected with,

sponsored by, affiliated with, related to, or approved by American. Accordingly, American is

entitled to injunctive relief.

        122.    American has sustained injury, damage, and loss based on Skiplagged’s actions

which include financial losses suffered as a result of the false association, corrective costs to rectify

misleading information and the damage to American’s reputation.

                                            COUNT V
                          Copyright Infringement under 17 U.S.C. § 101

        123.    American realleges and incorporates by reference all material allegations in the

preceding paragraphs as if fully set forth herein.

        124.    American has a copyright registration for the American Copyright, Reg. No.

VA0002130520 / 2016-06-03. The copyright is valid and enforceable.

        125.    Skiplagged had access to the American Copyright because it is published on

AA.com and on other places on the Internet. Skiplagged copied the American Copyright and

displays it on its website.

        126.    In copying the American Copyright, Skiplagged violated U.S. copyright laws,

specifically 17 U.S.C. § 101, et seq. Skiplagged willfully infringed upon the American Copyright.

        127.    American has been, is now, and will be irreparably harmed by Skiplagged’s

copyright infringement and, unless enjoined by the Court pursuant to 17 U.S.C. § 502, will

continue to infringe the American Copyright and cause harm and irreparable injury to American

for which American has no adequate remedy at law.




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       128.     American has sustained injury, damage, and loss based on Skiplagged’s

infringement. American is entitled to statutory damages, including for Skiplagged’s willful

infringement.

                                     VI.   ATTORNEYS FEES

       129.     American realleges the material factual allegations in the preceding paragraphs.

       130.     American was required to retain legal services to pursue its prosecution of the

claims asserted herein. Pursuant to at least Tex. Civ. Prac. & Rem. Code §§ 38.001 and 143.002,

American seeks its reasonable and necessary attorneys’ fees.

                              VII.     CONDITIONS PRECEDENT

       131.     All conditions precedent to these claims have been performed by American, been

waived, or occurred.

                     VIII. APPLICATION FOR INJUNCTIVE RELIEF

       132.     Skiplagged’s ongoing actions in violation of its contracts, the Lanham Act, and the

Copyright Act, have caused, and are continuing to cause, substantial and irreparable damage to

American for which there is no adequate remedy at law. Skiplagged has used and will continue to

improperly use the American Marks and American Copyright unless this Court prevents

Skiplagged from doing so. American will continue to lose control over its own reputation and

goodwill, and the public and consumers likely will continue to be confused, misled, and deceived

by the fact that Skiplagged offers services under the American Marks and American Copyright

without authorization.

       133.     American requests that Skiplagged, all companies owned or controlled by

Skiplagged directly or indirectly, their employees, representatives, agents, members, and others

acting in concert with them, be permanently enjoined from publishing American flight/fare content

on any website, including Skiplagged.com, through Skiplagged’s mobile applications, or

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elsewhere; selling or re-selling American flights, fares, or other products through any channel

including but through AA.com or authorized American agents; accessing or using AA.com or its

content for any commercial purpose; otherwise accessing or using American’s proprietary flight,

fare and/or inventory content from any source or for any purpose; holding itself out or continuing

to act in an agency capacity for American; or displaying or otherwise using the American Marks

or American Copyright, in violation of U.S. law.

       134.    American also requests, pursuant to Fed. R. Civ. P. 65(d)(2)(C), that all persons

who are in active concert or participation with Skiplagged be permanently enjoined from providing

Skiplagged with American flight, fare and/or inventory content, from selling American tickets to

or for the benefit of Skiplagged or Skiplagged’s customers, from executing or clearing sales of

American tickets for Skiplagged, from transacting payment transactions with or for the benefit of

Skiplagged in relation to any purchases or sales of American tickets, or otherwise assisting

Skiplagged in relation to access to American flight, fare and/or inventory content, or purchases or

sales of American tickets.

                                IX.     PRAYER FOR RELIEF

       Therefore, American respectfully requests that the Court enter an order and/or judgment

awarding American:

           a. a permanent injunction requiring Skiplagged, and others assisting, or acting for or

               in concert with Skiplagged, to comply with the restrictions set forth above in

               Section VIII;

           b. an accounting of all sales of American flights made by Skiplagged, whether directly

               or indirectly;

           c. an accounting of all sales of American flights made by Skiplagged through any

               other travel agencies;

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          d. disgorgement of all ill-gotten or unjust revenues, profits, and benefits that

             Skiplagged derived as a result of its trademark infringement, copyright

             infringement, and other misconduct alleged herein, pursuant to the Lanham Act (15

             U.S.C. § 1117(a)) and Copyright Act (17 U.S.C. § 504(b));

          e. statutory damages, including pursuant to 15 U.S.C. § 1117(c) and (d), and 17

             U.S.C. § 504(c);

          f. all actual damages that American has incurred due to Skiplagged’s actions,

             including compensatory and consequential damages, as well as exemplary damages

             due to Skiplagged’s willful conduct;

          g. prejudgment and post-judgment interest at the highest rates allowed by law;

          h. costs and attorney fees, including for any appeal; and

          i. all other relief to which American is justly entitled at law or in equity.


Dated: August 17, 2023                              Respectfully submitted,


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